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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                         FT. LAUDERDALE DIVISION

In re: TURKIN, TROY GARY                                 §         Case No. 19-27263-SMG
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Scott N. Brown,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                                  Clerk of the Court
                                                299 E. Broward Blvd.
                                                     Room 112
                                              Ft. Lauderdale, FL 33301
        Any person wishing to object to any fee application that has not already been approved or to the Final
Report, must file a written objection within 21 days from the mailing of this notice, together with a request for a
telephonic hearing and serve a copy of both upon the trustee, any party whose application is being challenged
and the United States Trustee. If no objections are filed, the Court will act on the fee application and the trustee
may pay dividends pursuant to FRBP 3009 without further order of the Court.
Date Mailed: 12/16/2020                                      By:: /s/ Scott N. Brown
                                                                                       Trustee
Scott N. Brown
One Southeast Third Ave, Ste 1400
Miami, FL 33131
(305) 379-7904




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                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                            FT. LAUDERDALE DIVISION

In re:TURKIN, TROY GARY                                       §      Case No. 19-27263-SMG
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         19,561.00
                   and approved disbursements of:                                    $                            129.71
                   leaving a balance on hand of1:                                    $                         19,431.29

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  1           American                   38,910.20                        0.00                        0.00               0.00
              Honda Finance
              Corporation
  3           Marshall Turkin          304,448.49                         0.00                        0.00               0.00
  6           Dominic                    66,152.27                        0.00                        0.00               0.00
              Stramaglia

                                                  Total to be paid to secured creditors:          $                      0.00
                                                  Remaining balance:                              $                 19,431.29

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - Scott N. Brown                                                 2,706.10              0.00         2,706.10
  Trustee, Expenses - Scott N. Brown                                                62.72              0.00            62.72
  Attorney for Trustee Fees - BAST AMRON LLP                                     6,500.00              0.00         6,500.00
  Attorney for Trustee, Expenses - BAST AMRON LLP                                  156.20              0.00           156.20




           1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest

      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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                   Total to be paid for chapter 7 administrative expenses:                    $              9,425.02
                   Remaining balance:                                                         $             10,006.27

              Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total             Interim       Proposed
                                                                        Requested         Payments to   Payment
                                                                                          Date

                                                          None

                   Total to be paid for prior chapter administrative expenses:                $                  0.00
                   Remaining balance:                                                         $             10,006.27

                In addition to the expenses of administration listed above as may be allowed by the Court,
       priority claims totaling $23,395.02 must be paid in advance of any dividend to general (unsecured)
       creditors.
                Allowed priority claims are:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  8P-2        Internal Revenue Service                     19,050.55                       0.00             5,661.80
  14          Andrea Ecchio-Turkin                           4,344.47                      0.00             4,344.47

                                                  Total to be paid for priority claims:       $             10,006.27
                                                  Remaining balance:                          $                  0.00

               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $466,149.61 have been allowed and
       will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
       timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
       applicable).
              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  2           Discover Bank Discover                       20,080.21                       0.00                  0.00
              Products Inc
  4           Space Coast Credit Union                    139,596.32                       0.00                  0.00
  5           JPMorgan Chase Bank, N.A.                    30,794.66                       0.00                  0.00
              s/b/m/t Chase Bank USA,
              N.A. c/o National Bankruptcy
              Services, LLC




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  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  7           American Express National                     9,819.51                    0.00                    0.00
              Bank c/o Becket and Lee LLP
  9           LVNV Funding, LLC                           11,972.69                     0.00                    0.00
              Resurgent Capital Services
  10          Jefferson Capital Systems                       632.03                    0.00                    0.00
              LLC
  11          Jefferson Capital Systems                       712.95                    0.00                    0.00
              LLC
  12          Regions Bank                               248,611.11                     0.00                    0.00
  13          ACAR Leasing LTD d/b/a GM                     3,930.13                    0.00                    0.00
              Financial Leasing

                      Total to be paid for timely general unsecured claims:               $                      0.00
                      Remaining balance:                                                  $                      0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment

                                                         None

                      Total to be paid for tardily filed general unsecured claims:        $                      0.00
                      Remaining balance:                                                  $                      0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $1,443.49 have been allowed and will be paid pro rata
       only after all allowed administrative, priority and general (unsecured) claims have been paid in full.
       The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  8U-2        Internal Revenue Service                      1,443.49                    0.00                    0.00




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                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                               Prepared By: /s/ Scott N. Brown
                                                                                 Trustee
    Scott N. Brown
    One Southeast Third Ave, Ste 1400
    Miami, FL 33131
    (305) 379-7904




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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